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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

X
AMERICAN LECITHIN COMPANY,
LIPOID GmbH,
LIPOID LLC, and
PHOSPHOLIPID GmbH, Case No. 12-cv-00929-VSB-KNF
Plaintiffs,
-against-

CARSTEN MATTHIAS REBMANN,
Defendant, Counterclaim
and Third-Party Claim
Plaintiff,

HERBERT REBMANN,

LIPOID GRUNDSTUECKS GMBH,
LIPOID VERWALTUNGS, GMBH,
LIPOID AG, and COMPLECTOR AG,

Third-Party Defendants.
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DECLARATION OF DR. HERBERT REBMANN IN SUPPORT OF MOTION
FOR PARTIAL SUMMARY JUDGMENT
DR. HERBERT REBMANN declares a follows:

1. I am one of the named Third-Party Defendants.

2. I make this declaration based upon my personal knowledge.

3. Former Third-Party Defendant Lipoid Grundstiicks GmbH is currently
owned 94% by another German limited liability company, which is a 100% subsidiary of
former Third-Party Defendant Lipoid Verwaltungs AG.

4, Lipoid Grundstticks GmbH was formerly owned by a number of

individuals, including both the Defendant, Carsten Matthias Rebmann, and myself.
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5. By a meeting of the shareholders of Lipoid Grundstiicks GmbH on 9
January 2013, the shareholders other than the Defendant voted for the Company’s
withdrawal of the Defendant’s ownership shares.

6. I understand that the Court has before it a copy of the minutes of that

shareholders meeting.

7. As those minutes state, it was the Company that took the shares from the
Defendant.
8. I did not take the shares, nor were any of those shares transferred to me

after being withdrawn from the Defendant. I never received any interest in, possession
of, or custody or control of the ownership shares previously owned by the Defendant and
withdrawn by the Company.

I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.

Executed on February Lf, 2019.

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Dr. Herbert Rebmann
